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‘, USM-285 is a 5-part form. Fill out the form and print 5 copies. Sign as needed and route as specified below.

U.S. Department of Justice PROCESS RECEIPT AND RETURN

United States Marshals Service See "Instructions for Service of Process by US. Marshal"

 

PLAINTIFF COURT CASE NUMBER
Donald Berdeaux and Christine Grablits 1:19-cy-04074-VEC
DEFENDANT TYPE OF PROCESS
OneCoin Ltd., et. al., Civil Service of Process

 

 

‘Karl’ Sebastian Greenwood
ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code}

Ud

NAME OF INDIVIDUAL, COMPANY, CORPORATION. ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN
SERVE 1

 

   

 

 

 

    

th

Metropolitan Correctional Center New York, 150 Park Row, New York, NY 10007 So
SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW Number of process to be. o cy .
served with this Form 285." I — :

Donald J. Enright . Number of parties to be mio om |

1101 30th Street N.W., Suite 115 seeved in this case col] =e

Washington, D.C. 20007 eg? =

(202) 524-4290, denright@zlk.com Cheek for service to -

onU.S.A. = Lo

 

 

 

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (fnelude Business and Alternate Addresses,
All Telephone Nunibers, and Estimated Times Available for Service):

Fald . Fold

 

 

Inmate Sebastian Greenwood is being served in federal prison. His federal prison register number is believed to be: 4623 1-054,

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Kofta fey ther Originator requesting service on behalf of: IK] PLAINTIFF TELEPHONE NUMBER DATE,
(i Ci perenpant =| (202) 524-4290 e12/7/20
SPACE BELOW FOR USE OF U.S. MARSHAL ONLY-- DO NOT WRITE BELOW THIS LINE
I acknowledge receipt for the total | Total Process | District of District to Signature of Authorized USMS Deputy or Clerk rep Date
number of process indicated. Origin Serve Sy
(Sign only for USM 285 if more P\ OM ‘ Ap ch
than one USM 283 is submitted) / nol DN = Ff L XO
=> a Tt

Thereby certify and return that 1 have personally served Oo have legal evidence of service, [1 have executed as shown in "Remarks", the pragess dedcriked
on the individual , company, corporation, etc., at the address ‘shown above on the on the individual , company, corporation, etc. shown at the addresxjnsertéd- below.

 

 

 

wre
D1 hereby certify and return that I am unable to locate the individual, company, corporation, etc. named above (See remarks below) = Pri.
Name and title of individual served fifnot shown above) Ca person of suitable ag a discratie?
then residing in defendarft's usual* (Bhace
Ket SERAST TéeAnt GREEN W000 D of abode Dp FS
Address (complete only different than shown above} Date Time a mae

}2/23/202 y: 26 Cl pm
"Cie" (or De TCE

 

 

 

 

 

 

 

 

 

 

Service Fee Total Mileage Charges| Forwarding Fee Total Charges Advance Deposits Amott oayved lo US. Marshal ® o
including endeavors) (Amount of Refund}

KG s.00 $65.00 $0.00

REMARKS:

 

 

dahameesiuiasg |. CLERK OF THE COURT PRIOR EDITIONS maxynp/isep

2. USMS RECORD C °

3. NOTICE OF SERVICE | ~ Y 6 = 4 A

4. BILLING STATEMENT™: To be returned to the U.S. Marshal with payment, Form USM-285
if any amount is owed. Please remit promptly payable to U.S, Marshal, Rev, 12/15/80

5, ACKNOWLEDGMENT OF RECEIPT . Automated 01/00

 

 
